Nevis interhaticnal Bank & Trust Ltd.

(DB Nevis international Nevis International Bank & Trust Center

ES
+ Bank ep Ti Ust Jessups Estate, Nevis, St. Kitts and Nevis

www.ibanknevis.com Tel: (869) 469-8889

Personal Account Application
(Applicable to Natural Persons)

 

 

 

 

 

 

 

 

 

 

 

 

[Account Name and Account Number (for Bank Use Only): Branch (For Bank Use Only): (Date Opened (For Bank Use Only):
ACCOUNT HOLDER DETAILS
Mr. or[L_]Ms. Surname: Freeman Given Name: lan

Middle Name: 8 Date of Birth (dd/mm/yyyy): fi 980
Marital Status: Single Cl Married Cc] Divorced

Country of Residence: New Hampshire Nationalities; New Hampshire

Telephone (mobile) : 805 Telephone (home) 2 449

Home Address <eere, NH 03431

 

 

Number of Years at Address: 14 = SE Are you: [A Home Owner CI A Tenant

ME Keene, NH 03431

Contact Address (The Bank
does not send physical mail):

Email Address: °C

Have you or any member of your family ever: (1) held a position as a public official; (2) acted as an important politica! figure, or; (3)
worked at any publicly traded company within the past 6 months? If Yes, briefly explain. If No, please write "No".

No

Have you ever been charged with a financial crime, or a crime involving fraud or dishonesty? If Yes, explain. If No, please write “No”.
| was charged six years ago for “unsworn falsification" after | legally changed my name from lan Holt Bernard and made a mistake on

driver license form. 1 per formed community service.

IDENTIFICATION DOCUMENTS (two different forms of photo identification required)

1) Type of I.D.: New Hampshire Driver License LD. No

 

 

 

 

2) Type of I.D.: United States Passport LD. No aaa

3) US Tax ID (if applicable 839

EMPLOYMENT DETAILS
Employment Status: — [_]Employed [Self-employed [_]Unemployed [_]Retired

Occupation (describe what you do): Minister of Peace & Nationally Syndicated Talk Show Host
Employer Telephone 2449

 

Employer Name: Shire Free Church

Empl d
mployer Address | NNN Keene, NH 03431
and Website (if any):

ttp:77church.shiresociety.com

 

ANNUAL INCOME IN US DOLLARS (or equivalent)
[Less than $200,000 [_]$200,000-$500,000 [-J$500,001-$800,000 [_]Greater than $800,000, state amount: —————

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x Nevis International °°" PERSONAL ACCOUNT APPLICATION

—= “~~ Ban k ep Trust The Bank Accepts Deposits in All Major Currencies
ACCOUNT DETAILS
Source of Wealth: Savings CT] Inheritance Cc] Salary Investments C] Other:

 

| don't have income, as | am sustained by my church. Revenue is from church investments,

Declaration of Wealth (describe in detail):
Tadio advertising sales, and church donations.

Describe Source of Funds to be Deposited in the Bank: church investments, radio advertising sales, and church donations —___
Initial Deposit Amount: 100,000 USE Annual Deposits [_] Less than $200,000 Greater than $200,000, amount: 1-5M
Do You Wish to Apply for a Private Banking Account?*[_| Yes No *Requires a minimum deposit of US$1 million or equivalent.

Liquid Net Worth (cash and liquid assets): 5,000,000 USD Illiquid Net Worth (real estate, businesses etc): 400,000 USD

 

 

 

Total Net Worth (liquid + illiquid net worth): 5,400,000 USD
REFERENCES (From Two Different Professional Sources)

 

 

 

 

 

 

 

 

 

 

Name: Roger K Ver __ Name:Skip loeckel
Business Name (If Applicable): Bitcoin.com Business Name (If Applicable): Talk Shows USA —___
1 3: Bay, St. Kitts Address: EEE olorado Springs, CO 80906 _
Tel: SE 853 Te}; MMII 67 6
E-Mail: 1092 i E-Mail: skip Cn
Fax: Fax:

Website: a.com

 

Website: bitcoin.com

ANTICIPATED SERVICES (check all that apply)

Debit Card [_]New Business Registration [_]rrust and Escrow [_]Investment Brokerage Account CL] Cash Management
[_] Citizenship by Investment [_Jinvestment Banking LJ toan [7] Other Business Services, specify: wire transfers
WHO HAS SIGNING AUTHORITY FOR THE ACCOUNT? (check all that apply)

Account Holder [_]Authorized External Money Manager* [_] Other Authorized Signer(s)*:

 

 

Describe the relationship to the Account Holder
Who has the authority to withdraw funds? [V]Account Holder [_ Authorized External Money Manager LJ Other Authorized Signer(s)*
*(Requires a letter of authorization, certified by a law firm, accounting firm, or financial institution)

CUSTOMER DECLARATION

By my signature(s) here below, I/we the (“Account Holder(s)” and “Authorized Signer(s)”) named in this Personal Account Application Form
hereby certify and attest that I/we am/are the natural person(s) who is/are applying to open this Account with Nevis International Bank &
Trust Ltd. (“NIBT”), and that |/we hereby represent and attest that: (i) [/we will not use the services of NIBT for any unlawful activity or
purpose; (ii) I/we have read, understand and signed the Nevis International Bank & Trust Ltd. Customer Account Agreement, and have
agreed to the terms of that agreement; (iii) all information that I/we have provided to NIBT is true, accurate and complete; (iv) I/we will
notify NIBT immediately of any material changes to the information contained in this application, and; (v) I/we authorize NIBT to be an

information processor and make initial and ongoing credit and other inquiries with third-parties in connection with my/our Account for
purposes of compliance with applicable law and the provision of financial services: al Oru
( , Norary

 

 

 

9, hii
SIGNATURES: N hie ee Pvdlic
sa Re No aati
; mission Expires August 28, 2024
lan B Freeman itn 2020-06-14
Account Holder Name (print name) Signature Date
Authorized Signer Name (print name) Signature Date
Authorized Signer Name (print name) Signature Date

Pace 2 of 3

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